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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
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					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							January 29, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Fredricksen v. Dyas (mem.op., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							January 29, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Achuo (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							January 29, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Sylvester v. Administrative Director of the Courts (mem. op., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 29, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Luckry (s.d.o., vacated and remanded).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 28, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Manion (Amended Order Rejecting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed 10/30/2020 [ada], 148 Haw. 334.&nbsp; Application for Writ of Certiorari, filed 12/22/2020.&nbsp; S.Ct. Order Rejecting Application for Writ of Certiorari, filed 01/28/2021.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 28, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Manion (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed 10/30/2020 [ada], 148 Haw. 334.&nbsp; Application for Writ of Certiorari, filed 12/22/2020.&nbsp; S.Ct Amended Order Rejecting Application for Writ of Certiorari, filed 01/28/2021 [ada].

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 28, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Rand v. Rand (Order Approving Stipulation to Dismiss Cross-Appeal).

							Family Court, 2nd Circuit
							
						
												
							January 28, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re: The Estate of Yasuo Kawakami (Order Approving Stipulation for Dismissal of Appeal With Prejudice).&nbsp; Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 3rd Circuit
							
						
												
							January 28, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Downs (s.d.o., affirmed).

							District Court, 2nd Cricuit, Wailuku Division
							
						
												
							January 27, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Adcock (Order Rejecting Application for Writ of Certiorari).&nbsp;ICA Opinion, filed 08/24/2020 [ada], 148 Haw. 308.&nbsp; Application for Writ of Certiorari, filed 11/27/2020.

							Circuit Court, 2nd Circuit
							
						
												
							January 27, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Flores v. Ballard.

							Circuit Court, 3rd Circuit
							
						
												
							January 27, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Adaniya (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							January 27, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Salvas (s.d.o., vacated and remanded).

							Circuit Court, 5th Circuit
							
						
												
							January 26, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Araiza v. State.&nbsp; ICA mem. op., filed 02/27/2020 [ada], 146 Haw. 209.&nbsp; Application for Writ of Certiorari, filed 06/24/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 07/29/2020 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							January 26, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Worden (s.d.o., affirmed).

							District Court, 3rd Circuit, Kona Division
							
						
												
							January 26, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							ML v. HL (s.d.o., vacated and remanded).

							Family Court, 1st Circuit
							
						
												
							January 26, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Purtzer (s.d.o., vacated and remanded).

							District Court, 1st Cricuit, Honolulu Division
							
						
												
							January 25, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Dickson (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 22, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Au v. The Association of Apartment Owners of the Royal Iolani (mem. op., vacated and remanded).&nbsp; Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							January 22, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Sardinha (Order of Correction).&nbsp; ICA mem.op., filed 01/15/2021 [ada].

							Circuit Court, 1st Circuit
							
						
												
							January 22, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Barshinger (s.d.o., vacated and remanded).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 22, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							PO v. Child Support Enforcement Agency (s.d.o., affirmed).&nbsp; Consolidated with Case No. CAAP-XX-XXXXXXX.

							Family Court, 3rd Circuit
							
						
												
							January 21, 2021
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							Office of Disciplinary Counsel v. Woo (Order of Suspension).

							Original Proceeding
							
						
												
							January 21, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							ATC Makena N Golf LLC v. Kaiama (Order Granting Motion to Dismiss Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 2nd Circuit
							
						
												
							January 21, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Marn v. Ashford (Order Denying Motion for Reconsideration).&nbsp; Petition for Writ of Mandamus, filed 12/14/2020.&nbsp; S.Ct. Order Denying Petition for Writ of Mandamus, filed 01/04/2021 [ada].&nbsp; Motion for Reconsideration, filed 01/14/2021.

							Original Proceeding
							
						
												
							January 20, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Gailliard v. Rawsthorne (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 05/29/2020 [ada], 146 Haw. 625.&nbsp; Application for Writ of of Certiorari, filed 11/30/2020.

							Circuit Court, 3rd Circuit
							
						
												
							January 20, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Protect and Preserve Kahoma Ahupua‘a Association v. Maui Planning Commission (Order Granting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed, 09/14/2020 [ada], 148 Haw. 275.&nbsp; Motion for Reconsideration, filed 09/24/2020.&nbsp; S.Ct. Order Denying Motion for Reconsideration, filed 10/02/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 12/14/2020.&nbsp;

							Circuit Court, 2nd Circuit
							
						
												
							January 19, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Slavick v. State (Order Granting Motion for Reconsideration).&nbsp; ICA Order Dismissing Appeal, filed 10/29/2020 [ada].&nbsp; Motion for Reconsideration, filed 01/04/2021.

							Circuit Court, 1st Circuit
							
						
												
							January 19, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Porter v. The Queen’s Medical Center. &nbsp;ICA Opinion, filed 02/21/2020 [ada], 146 Haw. 559.&nbsp; Motion for Reconsideration, filed 02/27/2020.&nbsp; ICA Order Denying Motion for Reconsideration, filed 03/04/2020.&nbsp; Amended Order Denying Motion for Reconsideration, filed 03/10/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 03/11/2020.&nbsp;&nbsp; S.Ct. Order Dismissing Application for Writ of Certiorari, filed 03/19/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 04/13/2020.&nbsp; S.Ct Order Accepting Application for Writ of Certiorari, filed 05/20/2020 [ada].&nbsp;&nbsp;

							Labor and Industrial Relations Appeals Board
							
						
												
							January 19, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Zhang v. Administrative Director of the Courts of the State of Hawai‘i (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 19, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							HM v. BM (s.d.o., affirmed).

							Family Court, 1st Circuit
							
						
												
							January 19, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							SG v. BA (s.d.o., vacated and remanded).

							Family Court, 1st Circuit
							
						
												
							January 15, 2021
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							Office of Disciplinary Counsel v. Hubbard (Order of Reciprocal Suspension).

							Original Proceeding
							
						
												
							January 15, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Sardinha (mem.op., vacated and remanded).&nbsp; ICA Order of Correction, filed 01/22/2021 [ada].

							Circuit Court, 1st Circuit
							
						
												
							January 14, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Hu Honua Bioenergy, LLC v. Griffin (Order Denying Petition for Extraordinary Writ and/or for Writ of Mandamus).

							Original Proceeding
							
						
												
							January 14, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Wilmington Savings Fund Society v. Ryan.&nbsp; ICA mem.op., filed, 04/09/2020 [ada], 146 Haw. 237. Consolidated with CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.&nbsp; Application for Writ of Certiorari, filed 07/06/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/02/2020 [ada].

							Circuit Court, 5th Circuit
							
						
												
							January 12, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Watanabe v. Employees’ Retirement System (Order of Correction).&nbsp; ICA s.d.o., filed 07/26/2019 [ada], 144 Haw. 564.&nbsp; Application for Writ of Certiorari, filed 10/17/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 12/11/2019 [ada].&nbsp; S.Ct. Opinion, filed 01/08/2021 [ada].

							Circuit Court, 3rd Circuit
							
						
												
							January 12, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Suzuki v. Mowry (Order Denying Motion for Reconsideration).&nbsp; ICA s.d.o., filed 12/29/2020 [ada]. Motion for Reconsideration, filed 01/06/2021.&nbsp; Application for Writ of Certiorari, filed 01/25/2021.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 11, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Willis v. Souza (Order Denying Petition for Writ of Habeas Corpus and/or Mandamus).&nbsp; Petition for Writ of Habeas Corpus and/or Mandamus, filed 12/21/2020.

							Original Proceeding
							
						
												
							January 8, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Skahan v. Stutts Construction Company, Inc.&nbsp; (Amended Opinion).&nbsp; ICA Order Dismissing the Appeal and All Pending Motions are Dismissed, filed 03/14/2017 [ada].&nbsp; Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/17/2017.&nbsp; Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/20/2017.&nbsp; ICA s.d.o., filed 04/01/2020 [ada], 146 Haw. 234.&nbsp; ICA Order Granting the March 20, 2017 Motion for Reconsideration, filed 04/03/2017 [ada].&nbsp; Motion for Reconsideration, filed 04/13/2020.&nbsp; Motion for Reconsideration, filed 04/14/2020.&nbsp; ICA Order Denying the April 13, 2020 Motion for Reconsideration and Dismissing the April 14, 2020 Motion for Reconsideration, filed 04/21/2020 [ada].&nbsp; Motion for Reconsideration, filed 04/21/2020.&nbsp; ICA s.d.o., filed 04/29/2020 [ada], 146 Haw. 241. &nbsp;ICA Order Denying the April 21, 2020 Motion for Reconsideration, filed 05/01/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/01/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 07/14/2020 [ada].&nbsp;&nbsp; Application for Writ of Certiorari, filed 07/28/2020.&nbsp; Application for Writ of Certiorari, filed 07/29/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/09/2020 [ada].&nbsp; S.Ct. Opinion, filed 12/24/2020.&nbsp; Consolidated with Case Nos. CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.&nbsp; Motion for Reconsideration, filed 01/04/2021.&nbsp; S.Ct. Order Granting Motion for Reconsideration of the Opinion Filed December 24, 2020, filed 01/08/2021 [ada].

							Labor and Industrial Relations Appeals Board
							
						
												
							January 8, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Skahan v. Stutts Construction Company, Inc.&nbsp; (Order Granting Motion for Reconsideration of the Opinion Filed December 24, 2020).&nbsp; ICA Order Dismissing the Appeal and All Pending Motions are Dismissed, filed 03/14/2017 [ada].&nbsp; Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/17/2017.&nbsp; Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/20/2017.&nbsp; ICA s.d.o., filed 04/01/2020 [ada], 146 Haw. 234.&nbsp; ICA Order Granting the March 20, 2017 Motion for Reconsideration, filed 04/03/2017 [ada].&nbsp; Motion for Reconsideration, filed 04/13/2020.&nbsp; Motion for Reconsideration, filed 04/14/2020.&nbsp; ICA Order Denying the April 13, 2020 Motion for Reconsideration and Dismissing the April 14, 2020 Motion for Reconsideration, filed 04/21/2020 [ada].&nbsp; Motion for Reconsideration, filed 04/21/2020.&nbsp; ICA s.d.o., filed 04/29/2020 [ada], 146 Haw. 241. &nbsp;ICA Order Denying the April 21, 2020 Motion for Reconsideration, filed 05/01/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/01/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 07/14/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 07/28/2020.&nbsp; Application for Writ of Certiorari, filed 07/29/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/09/2020 [ada].&nbsp; S.Ct. Opinion, filed 12/24/2020.&nbsp; Consolidated with Case Nos. CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.&nbsp; Motion for Reconsideration, filed 01/04/2021.&nbsp; S.Ct. Amended Opinion, filed 01/08/2021 [ada].

							Labor and Industrial Relations Appeals Board
							
						
												
							January 8, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Watanabe v. Employees’ Retirement System.&nbsp; ICA s.d.o., filed 07/26/2019 [ada], 144 Haw. 564.&nbsp; Application for Writ of Certiorari, filed 10/17/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 12/11/2019 [ada].&nbsp; S.Ct. Order of Correction, filed 01/12/2021 [ada].

							Circuit Court, 3rd Circuit
							
						
												
							January 7, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re: Slavick (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 12/28/2020.

							Original Proceeding
							
						
												
							January 7, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Ching v. Dung (Order Denying Defendants/Appellees/Cross-Appellants’ Motion for Reconsideration of the Opinion Filed December 21, 2020).&nbsp; ICA Opinion, filed 08/15/2019 [ada], 145 Haw. 99.&nbsp; Application for Writ of Certiorari, filed 10/11/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 12/04/2019 [ada].&nbsp; S.Ct. Opinion, filed 12/21/2020 [ada].&nbsp; Concurrence by Circuit Judge Crabtree.&nbsp; Motion for Reconsideration, filed 12/30/2020.

							Circuit Court, 1st Circuit
							
						
												
							January 7, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Mironer v. Steele (s.d.o., affirmed).

							District Court, 5th Circuit
							
						
												
							January 6, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							IES Residential, Inc. v. Director, Department of Labor and Industrial Relations (mem. op., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							January 5, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Stanley v. State.&nbsp; ICA s.d.o., filed 08/22/2019 [ada], 145 Haw. 139.&nbsp; Petitioner’s Application for Writ of Certiorari, filed 12/02/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 01/16/2020 [ada].

							Circuit Court, 1st Circuit
							
						
												
							January 5, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Jaentsch (Order Dismissing Certiorari Proceeding).&nbsp; ICA s.d.o., filed 12/31/2019 [ada], 146 Haw. 32.&nbsp; Application for Writ of Certiorari, filed 04/01/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 05/11/2020 [ada].

							Family Court, 1st Circuit
							
						
												
							January 4, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Marn v. Ashford (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 12/14/2020.&nbsp; Motion for Reconsideration, filed 01/14/2021.&nbsp; S.Ct Order Denying Motion for Reconsideration, filed 01/21/2021 [ada].

							Original Proceeding
							
						
											
				
			
			
		
		
				 

		 

			
			
		
			
				
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